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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA        *
                                *
     v.                         *    CRIMINAL NO. TDC-20-33
                                *   CRIMINAL NO. TDC-21-205
BRIAN MARK LEMLEY, JR., and     *   CRIMINAL NO. TDC-21-206
PATRIK JORDAN MATHEWS,          *
                                *
          Defendants            *
                                *
                            ********
        GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

 “We’ll give them bad guys. We will give them white supremacist terrorists, if that’s what they
               want. Give them what they want. Give them what they deserve.”
                       — Patrik Jordan Mathews, November 13, 2019

        “Derail some fucking trains, kill some people, and poison some water supplies.
                       You better be fucking ready to do those things.”
                        — Patrik Jordan Mathews, December 1, 2019

“We need to go back to the days of fucking decimating blacks and getting rid of them where they
     stand. If you see a bunch of blacks sitting on some corner you fucking shoot them.”
                        — Patrik Jordan Mathews, December 18, 2019

                      “I’m worried we’re going to become psychopaths.”
                        — Patrik Jordan Mathews, December 23, 2019

                             “I need to claim my first victim.”
                          — Brian Mark Lemley, Jr., December 23, 2019

                   “Why in the world would you not inflict bloody vengeance
                          upon the world when given the chance?”
                         — Brian Mark Lemley, Jr., December 23, 2019

  “It’s just that we can’t live with ourselves if we don’t get somebody’s blood on our hands.”
                             — Brian Mark Lemley, Jr., January 11, 2020

    “There couldn’t be no trust among a group of murderers. I cannot trust you to keep my
            murdering secrets. Not under threat of 30 years in jail and torture.”
                         —Brian Mark Lemley, Jr., January 15, 2020

          “Right now, if I ever get captured, I am going to jail for the rest of my life.”
                          — Patrik Jordan Mathews, January 15, 2020
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            Hoping for a civil war that would decimate racial and ethnic minorities and subjugate

     women, the defendants joined forces with each other and others, studied violence, tested their

  weapons skills, stockpiled munitions and supplies, and planned to kill on a large scale in pursuit

  of their goals. For the reasons that follow, the defendants each should be sentenced to a term of

  imprisonment of 25 years.

I.          Background

            On January 14, 2020, United States Magistrate Judge Charles B. Day authorized criminal

  complaints charging the defendants—along with convicted co-defendant William Garfield

     Bilbrough IV—with various federal crimes. The defendants were arrested two days later and have

     been in custody since that time. On January 27, 2020, a federal grand jury for the District of

     Maryland returned an indictment alleging various federal crimes committed by the defendants.

     The following day, the defendants were charged with additional federal offenses in the District of

     Delaware.

            On June 11, 2021, after the Court denied certain pre-trial motions, the defendants pleaded

     guilty to certain charges in both the Maryland and Delaware indictments pursuant to plea

     agreements. ECF Nos. 156 and 159. 1 Specifically, Lemley pleaded guilty to conspiracy to

     transport certain aliens; transporting certain aliens; disposing of a firearm and ammunition to an

     illegal alien; transporting a firearm and ammunition in interstate commerce with intent to commit

     a felony; harboring certain aliens; aiding and abetting an alien in possession of a firearm; and

     obstruction of justice. ECF No. 159. Mathews pleaded guilty to being an alien in possession of a

     firearm and ammunition (two counts); transporting a firearm and ammunition in interstate



     1
      The Delaware indictment was transferred to the District of Maryland pursuant to Federal Rule of
     Criminal Procedure 20.


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      commerce with intent to commit a felony; and obstruction of justice. ECF No. 156. In the plea

      agreements, the parties agreed to certain uncontested Guideline provisions and left all others in

   dispute.

II.          The Facts

             A.     “The Base”

             The defendants were members of a white supremacist organization called “The Base.” See

  ECF No. 156 at 12; ECF No. 159 at 14. Within The Base’s encrypted chat rooms, members

  discussed, among other things, recruitment, creating a white ethno-state, committing acts of

  violence against minority communities (including African-Americans and Jewish-Americans), the

  organization’s military-style training camps, and ways to make improvised explosive devices. See

  Exhibit 1 ¶ 6.

             From 2018 through at least the date of the defendants’ arrests in January 2020, The Base

  was building a coalition of white supremacist members within the United States and abroad

  through, among other things, online chat rooms, in-person meetings, propaganda, and military

  training. See ECF No. 156 at 12; ECF No. 159 at 14; Exhibit 1 ¶ 7. The Base’s membership

  included members of other white supremacist organizations, including Atomwaffen Division, a

  violent neo-Nazi terror group linked to several hate crimes. Exhibit 1 ¶ 8. The Base recruited

  white supremacists through its online presence, among other means, and was particularly

  interested in applicants with military and explosives backgrounds. See ECF No. 156 at 12; ECF

  No. 159 at 14. Applicants submitted an application form, id., which included questions regarding

   the applicant’s current associations with white supremacist organizations; the applicant’s military,

   science, and engineering experiences and training; and the applicant’s race and gender. Applicants




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were then vetted. Id. Once admitted into the organization, Base members were afforded access to

a secure messaging group. 2 Id.

       The Base had an online presence that gave context and promotion to its main goal. By way

of example, on April 23, 2019, The Base posted the following message online, see Exhibit 1 ¶ 9:




2
 The Base has received media attention since its inception. See, e.g., Ben Makuch and Mack
Lamoureaux, “Neo-Nazis Are Organizing Secretive Paramilitary Training Across America,” Vice
News, Nov. 20, 2018; Ryan Thorpe, “Homegrown Hate,” Winnipeg Free Press, Aug. 16, 2019.


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       In the above post, by “our People’s extinction,” The Base was referring to the extinction

of the white race. Additionally, The Base’s accounts on Twitter repeatedly posted content

promoting terrorism, lone-wolf attacks, and a white ethno-state. See Exhibit 1 ¶ 9. For example:

       •   “Unabomber pledged to stop his deadly attacks if the New York Times & Washington
           Post published one of his manuscripts—They did. Now imagine if there were 10
           ‘unabombers’ or 100 or 1000 who all shared one clear & practical political demand.
           How long until the System capitulated?” This post was accompanied by a photograph
           of Ted Kaczynski.

       •   “No need to wait until all conditions for revolution exist—guerilla insurrection can
           create them. Insurgency begins as a terrorist campaign.” This post was accompanied
           by a photograph of an explosion and an individual carrying what appears to be an
           assault rifle watching the explosion.

       •   “If you want a society with traditional values, electoral politics could still achieve that
           theoretically. But if you want a *White* society, electoral politics can’t achieve that
           unless the current System of government is replaced. The current System can’t be
           replaced peacefully.”

       •   “Create a list of every anti-White hate crime you can think of in which there was a
           miscarriage of Justice—These people have names & addresses. Go forth & balance
           the scales.”

       •   “Because space is compressed in cities, snipers may have to shoot from confined areas
           such as inside a vehicle like the D.C. snipers who made their shots from trunk of a
           sedan—Advantage is as soon as sniper takes his shot, driver takes off & is miles away
           from the scene in minutes.” This post was accompanied by an image of a man aiming
           a rifle through a hole in a car trunk.

       •   “Afghanistan is [a] good example of unifying ideology (think 14 Words) harnessed
           militarily—Although Taliban themselves were locally oriented, al-Qaida used its
           international network & propaganda to rally fighters worldwide around one flag united
           in their conviction & self sacrifice.” 3

       •   “Theoretically speaking, approximately how many lone wolf attacks per week & over
           how long of a time period would be sufficient to coerce the System to accommodate
           pro-White legislative demands?”


3
 “14 Words” is shorthand for a popular white supremacist phrase: “We must secure the existence
of our people and a future for white children.” The phrase was coined by David Lane, a now-
deceased member of a white supremacist and domestic terrorist group known as “The Order,” who
was convicted of various offenses in furtherance of the group’s cause.


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       •    “Creating a White Ethnostate is necessarily a revolutionary undertaking which requires
            liberating our People from the System & breaking away by whatever means necessary
            . . . . Not waiting for balkanization but making it happen instead.”

       •    “We already have many organizations around the world . . . . A few good ones too. The
            problem is that very few are doing offensive operations. Raising awareness in any form
            is not equivalent to going on the offensive unless it entails raising the enemy’s
            awareness of the threat we pose.”

       •    “Securing a future for White children necessarily entails securing independent territory
            . . . . Our People can’t have a secure future in America where they’re destined inevitably
            to become a persecuted minority. We must fight for a new White Homeland … forge
            a new White Identity.”

       •    “The cost of one bomb equals 60 million leaflets (which the Movement could neither
            produce nor distribute). Terrorism is good economics . . . . The public is at once
            informed & this information could not have been more cheaply spread or more
            quickly.”

       •    “A sincere pro-White movement in USA must necessarily be a secessionist movement
            . . . . It’s the only feasible option remaining for establishing the ethnostate. All legal
            aboveground activism should be focused on this ultimate goal concurrently with
            forming a clandestine military wing.”

       •    “Daily Reminder: Anyone who tells you that the 14 Words can be achieved peacefully
            is either a fool, a fraud, or a fed.”

       B.      Lemley’s History of White Nationalism and Admission into The Base

              i.       Other White Nationalist Associations

       Admission to The Base was not Lemley’s first brush with white nationalism. Rather, he

had been a white nationalist for years, and previously had sought admission to other groups of

like-minded confederates. For example, in 2017, Lemley sought to join The Northwest Front,

which is a racist, separatist group started by Harold Covington. 4




4
      See      https://www.splcenter.org/hatewatch/2018/07/25/harold-covington-founder-white-
separatist-group-dies-64.


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       On November 12, 2017, Lemley asked the Northwest Front to send an “intro packet” to his

home address. Exhibit 2. On November 18, 2017, he asked to “have a conversation with an actual

person that has the authority to discuss bloodlines and conflict with the nf [Northwest Front]

constitution. I am currently planning my migration and this is holding me up.” Exhibit 3.

Apparently having heard no response, on November 20, 2017, Lemley sent a long email to the

Northwest Front, see Exhibit 4 (filed under seal):

                Alright trying again to have a conversation with another human
                being about this. Not sure the correct way to go about this but ill try
                my best.

                Its come to my attention there is a jew in my family tree. My great
                grandmother on my mother’s side was a pole with red hair and blue
                eyes last name greenberg. I decided to disclose this even though it
                may harm me. If i was to ever join the movement I’m sure it could
                be dug up somehow and i don’t want to carry around a secret like
                that. Ive read the nf [Northwest Front] constitution and the conflict
                is why im asking about this. I am very woke on the JQ [Jewish
                Question]. I’ve read mein kampf 3 times and am very aware of
                current and historical international jewry. I would like to dispute
                this jewyness in my bloodline or atleast prove that its been diluted
                enough for me to call myself a white european and be correct in
                doing so. So im going to attach photos in support of this claim. Im
                sure you guys are going to be laughing about this email together, but
                i have to get it off my chest.

       Lemley then attached a number of photographs of himself and his family (including his

minor son), presumably to prove he in fact was whatever level of white purity the Northwest Front

demanded. Id.

       On December 28, 2017, he again contacted the Northwest Front, acknowledging that he

had received the Northwest Front Constitution “which i very much liked” but lamenting that he

had not received a specific response to his November communiqué: “So ive basically fallen flat




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on my face for being a white nationalist 14/88. I suppose I need to just gas myself.” Exhibit 5. 5

On February 21, 2018, apparently still having been spurned, Lemley asked to be taken off a

Northwest Front email distribution list: “You can take me off the list since 10% jew blood isnt

welcome in the NF.” Exhibit 6.

          On April 15, 2018, Lemley reached out again, sending a Twitter direct message that said,

“Harold [presumably Covington] I have a job waiting for me in Portland Oregon. Im asking you

to review my case and possibly grant an exception if possible. I believe I have a strong argument.”

Exhibit 7 at 5. 6 This time, Lemley received a response that must have given him comfort, because

he pledged and began paying Covington $100 per month. Id. at 3-5; Exhibit 8; Exhibit 9; Exhibit

10. On May 18, 2018, using his Twitter account, Lemley retweeted the following: “The Northwest

Front seeks a Homeland for all White people in the Pacific Northwest based on the 14 Words of

David Lane: \ “We must secure the existence of our people and a future for White children.\”

Exhibit 11 at 3. On May 29, 2018, using his Twitter account, Lemley retweeted, “The 14 Words

imply a new order based on RACE and on MORAL PRINCIPLE. We cannot surrender or ignore

those things out of simple expediency, just so we can listen to some kike on the internet or sit in a

rented motel banquet room with a queer with a clear conscience.” Id. at 5.

          Later in 2018, Lemley successfully joined another white nationalist group, the League of

the South. Exhibit 7 at 13-19; Exhibit 12. 7 He attended the League’s Christmas Party in




5
 “14/88” is a common expression in white nationalist circles. The “14” is for the “14 words.”
The “88” is for Heil Hitler, with the letter “H” being the eighth letter of the alphabet.
6
  The Twitter direct messages are separated into different chats, and the chats are produced in
reverse chronological order.
7
    See https://www.splcenter.org/fighting-hate/extremist-files/group/league-south.


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Tennessee in December 2018, driving eleven hours from his home in Maryland: “I cant bare the

thought of missing the party. Hail Dixie.” Exhibit 12; Exhibit 7 at 24-26.

       Lemley’s Twitter account also was rife with white nationalist, racist, mysoginistic, and

anti-Semitic rhetoric, images, and videos. Attached as Exhibit 13 are a sample of some of the

images posted or held by Lemley on his Twitter account. They make his mindset and intentions

clear: to change America into a white haven.

             ii.      The Base

       On February 27, 2019, Lemley made his initial contact with The Base through Twitter, and

was directed to email Base leadership at an overseas encrypted email address hosted by Proton

Mail. Exhibit 7 at 34-35. Lemley did so, the following day submitting a preliminary “application”

for Base membership, Exhibit 14: 8




8
 In the email, Lemley uses the phrase “red pill,” which is an expression used in certain white
nationalist circles to signify coming to understand the truth of their ideology, in contrast to not
being a white nationalist.


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After receiving an e-mail response asking for more information, Lemley responded in part as

follows on March 2, 2019, Exhibit 15 at 4:




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       The Base’s leader appears to have conducted a vetting interview of Lemley in early March

2019. Exhibit 15 at 2-3. Thereafter, Lemley appears to have posted a Base flyer on the drive-

through menu board of a fast-food restaurant in Delaware, and taken a photograph of it that was

then posted on social media by The Base’s leader. Exhibit 16.




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         Furthermore, between October 2018 and June 2019, Lemley posted multiple messages and

images of Base propaganda to his Twitter account. Exhibit 17. Some of those messages are

below, see Exbibit 11:

             •   On October 30, 2018, Lemley retweeted, “Stop whining and do something. War is
                 coming! Join @TheBase_1, an international pro-white self-defense & survivalism
                 network.” Exhibit 11 at 9.

             •   On November 8, 2018, Lemley retweeted a tweet from @TheBase_1, “Knowledge
                 & training acquired beforehand can greatly improve your ability to manage the
                 psychological dynamics of a crisis. Some knowledge can be acquired ahead of time
                 by reading books—But there are other things that can only be learned by doing &
                 this is where training comes in.” Exhibit 11 at 11.

             •   On February 15, 2019, Lemley retweeted a tweet from the account of the Base
                 leader: “System repression of our People, especially against pro-White activists,
                 will only increase exponentially as our numbers diminish. Prepare mentally &
                 physically, sharpen your skills, & unite as much as possible—It’s the only way to
                 secure our longterm survival. Join The Base today.” Exhibit 11 at 15.

             •   The following day, Lemley retweeted a tweet from the account of the Base leader:
                 “Oh so now The Base has gone from ‘dangerous neo-nazi terrorists’ to
                 ‘LARPers’—Make up your minds, dumb commies. One thing’s for sure that’ll
                 never change is you & your Antifa buddies being a bunch of scummy
                 degenerates.” 9 Exhibit 11 at 18.

             •   On February 17, 2019, Lemley again retweeted a tweet from the account of The
                 Base’s leader: “If you dox another member of The Base, your comrade loses his
                 laboratory technician job.” Exhibit 11 at 20.

             •   The following day, Lemley retweeted a tweet from the account of The Base’s
                 leader: “Sharpen your primal instinct to survive—Join The Base today!” Exhibit
                 11 at 23.

             •   On February 23, 2019, Lemley retweeted a tweet from the account of The Base’s
                 leader: “Why do we ask applicants about military experience? Because The Base
                 is a survivalism & self-defense network—Two skills that are acquired through
                 military training. This should be self-explanatory but for some who aren’t too
                 bright it’s a sign of malicious intent or fed posting.” Exhibit 11 at 25.



9
    “LARP” stands for live-action role-playing game.


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           •   On March 29, 2019, Lemley retweeted, “The largest issue at hand for us today is
               organizing effectively and learning the needed skills for what is to inevitably come,
               join The Base today and learn those valuable skills while organize your own local
               cell and organizing with others. Contact us at TheBase1@protonmail.com.”
               Exhibit 11 at 28-29.

           •   On April 6, 2019, Lemley retweeted, “No man is an island especially when
               conducting effective resistance operations during & after societal collapse. All the
               more reason to work as a tribe, network, and team. Join The Base.” Exhibit 11 at
               32.

           •   On April 17, 2019, Lemley tweeted to someone, “Join the base or sit in the darkness
               of censorship as a clueless pleb.” Exhibit 11 at 34.

           •   On April 18, 2019 Lemley tweeted to someone, “Join the base and prepare with
               your brothers. Leave loneliness behind you.” Exhibit 11 at 37.

           •   On April 28, 2019, Lemley tweeted to someone, “@thebase1 You’ve got nothing
               to lose. The enemy will leave you with nothing anyways.” Exhibit 11 at 40.

           •   The same day, Lemley retweeted, “The only ‘organization’ (decentralized and
               leaderless anonymous entity) that is actually going about preparing for our
               inevitable future in any sensible way is ‘The Base’, and all of the cucks and morons
               out there keeping calling them feds. Unbelievable.” Exhibit 11 at 41.

           •   On May 8, 2019, Lemley retweeted, “Most preppers plan to hunker down & emerge
               when all’s ok—Thinking they’ll be left alone, they miss the need for tactical
               approach. Real survival requires taking action to dominate your AO: The Base
               isn’t about simply holding up & surviving—We’re about going out & fighting to
               WIN.” Exhibit 11 at 45.

       Then, on June 13, 2019, The Base’s leader sent Lemley a “recommended reading list,”

which included James Mason’s The Siege, Harold Covington’s A Distant Thunder, and various

books on tactics, operational security, self-defense, and strategy. Exhibit 18.




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       Lemley also participated in encrypted online chats with other members of The Base. In

the chats, Base members frequently discussed evading law enforcement and what would happen

if law enforcement tried to disrupt their activities, including how they would react if law

enforcement showed up with warrants; shooting it out with law enforcement; suicide by cop; and

the importance of not letting law enforcement take them alive if they come with a warrant. Exhibit

1 ¶ 10. For example, in September 2019, in a discussion with other Base members, Lemley wrote,

“Hey mr fed” and “I spent about 35% of my day daydreaming about killing you today.” Exhibit

19. Lemley went on to write, “I daydream about killing so much that I frequently walk in the

wront [sic] directions for extended periods of time at work.” Exhibit 20.

       C.      The August 2019 Base Training Camps

       Members of The Base conducted a regional training camp in Georgia from August 2

through August 4, 2019. ECF No. 156 at 12; ECF No. 159 at 14. Lemley drove Bilbrough to the

training camp, and while there participated in tactical training and firearm drills. Id. Later in

August 2019, Lemley and Bilbrough attended another Base training camp in a different state. ECF

No. 156 at 12; ECF No. 159 at 14. The photograph below was taken at that separate training camp;

Lemley is standing second from the left while holding a long gun straight in the air. Id.




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       D.     Mathews’s History of White Nationalism, Base Membership, and Arrival in
              the United States

       On August 19, 2019, the Winnipeg Free Press published an article regarding one of its

reporters’ infiltration of The Base. ECF No. 156 at 12; ECF No. 159 at 14. While acting in an

undercover capacity on behalf of the Winnipeg Free Press, the reporter was telephonically

interviewed by Base leadership to become a member. Id. Upon completion of the telephone

interview, Base leadership arranged an in-person meeting with a local Base member residing in

the area of Winnipeg, Canada. Id, The reporting led to the identification of Mathews as the Base

member the reporter had met in person.

       On or about August 19, 2019, the Royal Canadian Mounted Police (“RCMP”) executed a

search warrant at Mathews’s residence. Exhibit 1 ¶ 11. In a trash can, police found a handwritten


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list of mass shootings, which included the year, number of dead, number of wounded, ethnicity of

the shooter, and whether the shooter was on any type of medication. Exhibit 21; Exhibit 1 ¶ 16.

Thereafter, Mathews fled Canada and illegally entered the United States. ECF No. 156 at 13.

         On August 30, 2019, Lemley and Bilbrough traveled in Lemley’s truck from Maryland to

southern Michigan (roughly 600 miles) in order to pick up Mathews. ECF No. 156 at 14; ECF

No. 159 at 16. Lemley and Bilbrough remained in the Michigan area for approximately two hours,

after which all three headed back east. Id. After dropping off Bilbrough in Maryland, Lemley

continued to drive Mathews south to Chincoteague, Virginia. Id. Once there, on or about

September 1, 2019, Lemley (posting under the moniker “Cantgoback”) advised other Base

members that “the objective has been reached.” Exhibit 22 at 5. Lemley further advised that he

“got him [Mathews] a burner” phone and that “Punished snake [Mathews] wants to help with

vetting” new members because Mathews is “just enthusiastic.” Id. at 2, 3, 7. Mathews, using the

moniker PunishedSnake1488, was then added to the group chat. Id. at 11-13.

         Two weeks later, around September 14, 2019, Lemley traveled from Elkton, Maryland, to

Chincoteague, Virginia, in order to pick up and relocate Mathews to the property of a Base member

in Georgia. ECF No. 156 at 14; ECF No. 159 at 16. En route to Georgia, Lemley (driving) and

Mathews (in the passenger seat) passed through the Chesapeake Bay Bridge Tunnel near Norfolk,

Virginia. In the photo below, taken at the tunnel, Mathews is wearing a Hawaiian shirt, which

type of shirt often is worn by white nationalists hoping for the collapse of the United States

government, which they often refer to as the Boogaloo. 10




10
     See https://www.nytimes.com/2020/06/29/style/boogaloo-hawaiian-shirt.html.


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       On Sunday, September 15, 2019, at approximately 3:00 a.m., Lemley and Mathews arrived

in Georgia. ECF No. 156 at 14; ECF No. 159 at 16. Approximately five hours later, Lemley

departed and headed north and east toward Maryland, returning to his residence in Elkton,

Maryland, on September 16, 2019. Id. Mathews remained at the Georgia property with at least

one other member of The Base. Id.

       E.     The October/November 2019 Training Camp in Georgia and Mathews’s
              Travel to Delaware

       On October 30, 2019, Lemley drove Bilbrough from Maryland to Georgia for another Base

training camp. ECF No. 156 at 15; ECF No. 159 at 17. Mathews, who already was residing at the

property, also attended. Id. While in Georgia, on November 2, 2019, Lemley and Bilbrough

purchased approximately 1,550 rounds of 5.56 ammunition for $558.54. Id. Late in the evening

on November 2, 2019, Lemley, Mathews, and Bilbrough traveled from Georgia en route to


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Maryland. After dropping off Bilbrough at his Maryland residence, Lemley and Mathews travelled

to the area of Elkton, Maryland, where Lemley obtained a motel room minutes from Lemley’s

then-residence for Mathews to spend the night. Id. The following day, Lemley and Mathews

moved into an apartment in Newark, Delaware, just across the state line from Elkton, Maryland.

Id.

          Lemley and Mathews lived in the Delaware residence until their arrest there on January 16,

2020. ECF No. 156 at 15; ECF No. 159 at 17. While in the residence, Lemley and Mathews

planned to and actually did build a functioning assault rifle. Id.

          F.     The Sneak-and-Peek Search of the Delaware Residence

          On December 13, 2019, pursuant to a federal search warrant, law enforcement agents

conducted a delayed-notification search (colloquially described as a “sneak-and-peak warrant”) of

the Delaware residence. Agents located Base propaganda flyers and a copy of James Mason’s

book, The Siege. 11 Exhibit 23 at 1-2. Next to Mathews’s air mattress, agents located handwritten

notes suggesting that Mathews had vetted another applicant to The Base. Exhibit 23 at 3. Agents

also located a large number of Meals-Ready-to-Eat (“MREs”) stored in containers. Exhibit 23 at

4-5. 12

          During the search, law enforcement agents obtained images of electronic devices. Agents

found several videos of Mathews espousing violent, anti-Semitic, and racist language. For

example, in one video, dated November 13, 2019, Mathews talks about his belief that antifa

protestors needed to become subject to “assassination.” Exhibit 25; Exhibit 25a. He was tired



11
   The Siege is a common and popular book in white nationalist circles.              See generally
https://www.splcenter.org/fighting-hate/extremist-files/individual/james-mason.
12
  Lemley appears to have bought multiple MREs, including a three-month supply of food, on
January 2, 2019. Exhibit 24.


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of white nationalists not being able to effectively communicate and organize because of

harassment, id.:

               These people . . . make us out to be evil incarnate. We’re the bad
               guys according to them. I think it’s time we became the bad guys.
               I think it’s time that we decided to stop putting up with things we
               should not put up with. I think it’s time…They want bad guys so
               bad, they can have it. We’ll give them bad guys. We will give them
               white supremacist terrorists, if that’s what they want. Give them
               what they want. Give them what they deserve.

       Many of the videos discuss killing people in furtherance of “the movement.” Below is a

transcript and screenshot from one of those videos, in which Mathews is observed wearing a gas

mask and attempting to distort his voice, Exhibit 26:




               Testing of course the audio on this, seeing if there is enough vocal
               disruption in terms of my voice. The time for words has ended. The
               time for podcasts has ended. The time for talk has ended. If you’re
               wasting your time simply thinking there’s going to be
               movementarian approach to the coming problems, you think that


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               podcasts are the solution they’re not, if you think talking is a
               solution, it is not. If you think politics is a solution, you are a damn
               fool. To quote [a Winnipeg Free Press reporter] as there is no
               technical record of the person he likes to attribute this to, so to quote
               [a Winnipeg Free Press reporter] the system does not want a
               peaceful solution, the system has prevented a peaceful solution at
               every possible turn. It is the system that is fomenting violent
               revolution, not us, and they shall now reap what they have sown.
               The time for violent revolution is now, that time is already here, it’s
               here right now as we speak. You have one of two options if you
               understand the truth and you understand the gravity of the situation.
               Your two options are as follows. Option number one, prepare for the
               collapse. Option number two, bring the collapse. That is it. If you
               are not getting physically fit, if you are not getting armed, if you do
               not acquiring weapons, ammunition, and training right fucking now,
               then you should be preparing to do what needs to be done. Derail
               some fucking trains, kill some people, and poison some water
               supplies. You better be fucking ready to do those things. If not, then
               you are not going to be ready for what’s coming. If you want the
               white race to survive, you’re going to have to do your fucking part.
               You were born sadly in the wrong century. For those who want to
               do nothing and who want a comfortable life, that’s not an option.
               This is the age of war. This is the age of entire this is the age of
               strife, this is the century upon which this current civilizations rotting
               Jew infested country comes to a collapse. You were born in the
               wrong century for complacency. That’s all for now.

       G.      The Defendants Spoke Their Intentions and Acted on Them.

              i.       Background

       In December 2019, law enforcement obtained court orders authorizing the installation of a

closed-circuit television camera and microphone in the Delaware residence. Such a large portion

of the defendants’ secretly-recorded rhetoric involved violence in furtherance of white nationalism

and the downfall of the American state. Without appending all 1,136 pages of line sheets from the

Title III, it is difficult to fully encapsulate the discussions, which weave in and out of a variety of

criminal activity, including discussion of several different federal crimes of terrorism.

       Below, the Government sets forth a representative sample of the conversations that prove

the defendants’ intentions. These conversations show, at a minimum, that the defendants intended



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to: kill a federal employee, in violation of 18 U.S.C. § 1114; intentionally damage communication

lines, stations, and systems controlled, operated, or used by the United States, in violation of 18

U.S.C. § 1362; damage an energy facility, or attempt or conspire to do so, in violation of 18 U.S.C.

§ 1366(a); damage rail facilities, or attempt or conspire to do so, in violation of 18 U.S.C. § 1992;

and commit arson or bombing of any building, vehicle, or other property used in interstate

commerce, in violation of 18 U.S.C. § 844(i). Each of these statutes are enumerated federal crimes

of terrorism, under 18 U.S.C. § 2332b(g)(5).

       As explained below, the defendants were particularly enamored with the idea that the

Boogaloo would begin in Richmond, Virginia, in January 2020. After the November 2019 state

elections, Democratic officials controlled both chambers of the Virginia legislature and the

Governor’s seat. The defendants believed that the Democrats intended to use that power to pass a

variety of legislation anathema to the white nationalist cause. The defendants believed that the

Boogaloo would begin on January 20, 2020, when a pro-firearm rally was scheduled for the state

capitol. The defendants believed that, once the Boogaloo began, the defendants and other like-

minded confederates would begin systematically murdering and destroying in order to bring

capitulation by, and the demise of, the United States government.

             ii.       Timeline Summary

       The Title III intercepts, as well as other evidence, revealed preparation for the Virginia

violence weeks before January 20, 2020. On December 18, 2019, Mathews made clear his views

on minorities, Exhibit 27; Exhibit 27a:

               [The elite] want as many blacks as they can shove into white
               countries as they can possibly can fuckin muster. They’re gonna
               shove every single one they can into our country. Now what we can
               do, is we can shut these fuckin these fuckers down by for example:
               make your community a non-welcome community. You have some
               bitch decide to fuck a nigger? You fuckin’ hang her. Some fuckin



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               niggers come into your town and start dealing drugs? Hang ‘em.
               Kill ‘em. Shoot ‘em. You gotta do, you have to do something about
               these things. Because if you do nothing, that tells them they’re
               welcome. That tells them it’s okay to come into a white town and
               deal drugs or fuck the white girls. That can’t be that way. You have
               to fuckin kill them. Now why do you have to kill them? Because
               they are a competing racial group. They will fuck your women.
               They will fuck the ugly and disadvantaged women in your
               communities that shouldn’t just be given off and you know brought
               up to have husbands. This brings me to another point. Do not allow
               race-mixing.

       Mathews continued: “Something that a lot of people don’t know a lot of race riots back in

the day were started by whites. We would start the riots and you best believe we finished them.

We need to bring that back. We need to go back to the days of fucking decimating blacks and

getting rid of them wherever they stand. If you see a bunch of blacks sitting on some corner you

fucking shoot them.” Exhibit 28; Exhibit 28a.

       On December 21, 2019, the defendants discussed the Virginia plan. They wanted to “create

fucking some instability while the Virginia situation is happening,” “derail some rail lines,”

“fucking like shut down the highways,” “shut down the rest of the roads,” and “kick off the

economic collapse of the US within a week after the Boog starts.” Exhibit 29; Exhibit 29a.

       Also on December 21, 2019, the defendants discussed how they wanted to “crash the

system” and knock out “every single rail line.” Exhibit 30; Exhibit 30a. Lemley stated, “I mean

even if we don’t win, I would still be satisfied with a defeat of the system . . . and whatever was to

come in its place would be preferable than what there is now. And if it’s not us then you know

what we still did what we had to do.” Id.

       On December 23, 2019, the defendants discussed murdering a law enforcement officer in

order to obtain additional gear for the Virginia plan. Exhibit 31; Exhibit 31a:

               Lemley:         The important thing is that I was able to achieve like
               a I basically guaranteed that we have like a good a good um kind of



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     like starting point where um so it’s like ok time to go Boogaloo, time
     to plan our first our first mission is basically like gank [kill]
     somebody that has gear that we want and it it’s really unfair what I
     can do to somebody with that . . . I can shoot you in in the fucking
     dome at 300 yards at in pitch black darkness…you never saw it
     coming and there’s like no chance that I would miss. My shot group
     my grouping at 300 yards is an inch and a half… my grouping is an
     inch and a half [at which point Lemley shows the grouping on his
     own head] at 300 yards….It’s almost impossible to fucking
     miss…and if I’m not perf perfectly accurate I still have all this space
     to the left and to the right there’s almost no way I can miss that shot
     unless the person’s moving in which case if they’re moving…lower
     at the chest or have literally a foot in either direction of space… I’m
     not gonna miss.

     Mathews:       Yeah so by the way…that’s pretty sick um so I’m
     kind of thinking um I can give you some cash and we can get the
     total mags [magazines] that we’re going to need. I’ve got a question,
     are you are you thinking you’re going a build a like a like a carbine?

     Lemley:         …If I have that I don’t I have no doubt that I can just
     take whatever I want from anybody. I cannot see a situation where
     I just can’t take what I want…if there’s like a popo [police] cruiser
     parked on the street and he doesn’t have backup I can just execute
     him at at a whim and just take all his stuff...

     Mathews:       I’m worried we’re going to become psychopaths.

     Lemley:        I can just decide that I’m commandeering…all of his
     gear and there is nothing he can do to stop me. He literally has zero
     change of being not ganked [killed].

     Mathews:       It’s kind of it’s kind of scary when you think about it
     I mean like as to what we’re slowly becoming cause I don’t know
     about you but like…I think daily about what I’m going to do with
     my coworkers if they figure out who I am…and how I’m going to
     respond.

     Lemley:        How easy is that though like you just ok there’s a
     trooper right there…he’s got a couple firearms in the vehicle he
     probably he might have some NVGs [Night Vision Goggles] in the
     trunk.

     …




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                 Mathews:     Here’s what police are going to give us. Two things
                 ammo pistol maybe some plates…

                 Lemley: Soft armor.

                 Mathews:        They’ll probably have a fucking carbine like an M4
                 that or a shotgun whatever it is he’ll have some nice stuff that we
                 can use or his radio rip that out of it and use it to listen…

                 Lemley:         Guy is the guy is just like sitting there he’s just
                 parked in his in his car and sitting in his in his driver’s seat and not
                 moving he’s just sitting there…And all I have to do is is plink him
                 right through the fucking windshield…and everything is now
                 mine….

                 ….

                 Lemley:        I literally I need to claim my first victim…

                 ….

                 Lemley:          It’s just like it’s so unfair what I can do to people
                 with that. You know. Like nobody is safe there is no safety. Don’t
                 be caught alone at night in a place where I can pop you. That’s
                 essentially I think that’s essentially what what it is.

                 ….

                 Mathews:      …We could essentially like just be literally hunting
                 people…you could provide overwatch while I get close. Do what
                 need to be done to certain things….

                 Lemley:          I’m just saying the snowball effect…is so massive
                 though cause like all we have to do is pick one get one one good
                 target that has the gucci[13] that we want and we just wait for him to
                 step into the position of vulnerability and now we’re like in full raid
                 gear.

                 …

                 Mathews:       ….The thing is what we we start doing is every every
                 ounce of equipment becomes how we equip our militiamen…You
                 know we’ve got this situation in Virginia where this is going to be
                 that opportunity is a boundless and the thing is you’ve got tons of

13
     The defendants referred to high-end body armor and tactical equipment as “Gucci” gear.


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               guys who are just in theory should be radicalized enough to know
               that all you gotta do is start making things go wrong and if Virginia
               can spiral out into a fucking full blown civil war….

               …

               Lemley:          …I’m almost like a captain…as far as like a pirate
               like pirate terminology… I essentially have a “ship of force”…
               Every pirate captain was was always just as good as their “ship of
               force.” . . . and what I have done is I have acquired a “ship of force”
               …and that’s important…If you have no “ship of force” you’re just
               sitting on the beach drinking rum. But when you have one it’s time
               to go you know start raiding.

               Mathews:     …It’s kind of like you say once you have a few
               victories…you can snowball.

               Lemley:        Yeah you you need to get that anxiety of that first one
               out of the way.

               Mathews:       Yeah.

       On December 24, 2019, Lemley sent his thoughts to certain members of The Base in an

encrypted chat, see Exhibit 32:

           •   “You need an atrocity to make people angry enough to get serious. Open fire on

               protesters.”

           •   “The cucked lolberts are gonna try and play by the rules. People are too spooked

               from Charlottesville to go and let loose and have some real fun. You need a boston

               massacre or its not happening.”

           •   “The im not a racist leaders need to be capped.”

       On December 25, 2019, the defendants attempted to figure out a way to spring Dylan Roof

from USP Terre Haute, which is a heavily fortified maximum security federal prison. Exhibit 33;




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Exhibit 33a; Exhibit 34; Exhibit 34a. 14 Mathews said, “we should just go and just break out

every fucking saint. Can you imagine?...Can you imagine Dylann Roof broked out of jail?...The

Base would be known as the guys who broke out Dylann Roof.” Exhibit 33; Exhibit 33a. The

defendants discussed how many people it would take to break into the prison, how many guards

the prison had, and how and where a shoot-out would happen. Exhibit 34; Exhibit 34a. At one

point, Mathews stated, “Personally, I think you have a combination of snipers placed out, just

fucking dropping the guards in the towers.” Exhibit 34; Exhibit 34a. Thereafter, Lemley stated,

“There’s a chance that I could, I could ‘snip snip snap snap’ several guards before anybody even

sounded an alarm.” Exhibit 34; Exhibit 34a. As the Court knows, the guards at a BOP facility

are federal employees.

       On December 26, 2019, the defendants discussed destroying rail lines and power lines in

Virginia. Exhibit 35; Exhibit 35a. Specifically, Mathews stated, “And that’s where the thing

with Virginia, that that allows us some tactical flexibility. We gotta [unintelligible] every single

train line we can hit every single power line. [unintelligible] we do that and that’ll bring the

economic collapse.” Id.

       Also on December 26, 2019, the defendants continued discussing how Base members

should take out power lines in Virginia and kill “the system.”          Exhibit 36; Exhibit 36a.

Specifically, Mathews wanted Base members to “get to every single thing you can take out—

power lines, everything. We need to fucking escalate this and spread that idea and just say ‘fucking

bring the system down.’ When Virginia happens, we fucking kill the system.” Id.



14
  As the Court is no doubt aware, Dylann Roof was sentenced to death for hate crimes and other
offenses, for the 2015 shooting deaths of nine members of the Emanuel African Methodist
Episcopal Church in Charleston, South Carolina. United States v. Roof, 10 F.4th 314, 329 (4th
Cir. 2021).


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       On December 29, 2019, Mathews stated, “I’m always thinking of schemes and ideas to

carry out my evil plans upon the world.” Exhibit 37; Exhibit 37a. He then discussed how he

would take out a 5G cell tower, using his carpentry skills: “The tech company fears the carpenter.”

Id. Mathews said, “can you imagine what would happen if we shut down the internet for fucking

twenty-four hours?...Lotta interesting stuff would happen.” Id.

       On December 29, 2019, the defendants again discussed Virginia. Exhibit 38; Exhibit 38a.

Mathews said, “Well, that will be just going on the outskirts hitting every trail, every - every train

line, everything…. And you basically delay logistical support into these cities for fucking months

at a time.” Id.

       On December 30, 2019, Mathews talked to himself about his own desires and intentions,

including to kill black people and federal agents, see Exhibit 39; Exhibit 39a:

                  The real big things is when you start doing stuff that state is
                  supposed to do. That’s when you start having real power because
                  the fact is the state is not represented by whatever the government
                  party is or what everybody voted for. The state is represented by
                  who does the real shit. The state is represented by who yields the
                  force, who has the money, and who is the right. Now if you own the
                  territory and you start the cause and you say that nobody fucking a
                  nigger that we can’t be fucking a nigger you’re shot. You get shot...
                  That there is going to be – in one month’s time there is going to be
                  an anti-race mixing law and this law will be enforced with lethal
                  force. Found fucking a nigger you’re shot in the fucking head.
                  You’re shot the nigger get’s hanged that’s that…

                  ….

                  The fact is real power – real power originates in – real political
                  power originates from the fear of death. And I was right about them
                  and the sooner that we as a movement come to terms with that the
                  sooner we can start collecting resources for a lot better change.
                  Here’s the thing…AR-15s are good but I would recommend a lot of
                  people start investing in bolt action – bolt action rifles and high
                  caliber long range bolt action sniper rifle. That’s really sniper rifles.
                  A hunting rifle whatever like just get a good rifle that has a lot of
                  range. Get yourself some – if you do – if you can – if you can afford



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               it get yourself some night vision. If you can afford it get yourself a
               thermal optic. Put the thermal optic on your sniper rifle. You now
               have something that beats night vision. You now have good night
               time advantage. So you can fucking do stuff at night. Like make
               the feds go to some point – go to the woods. Sit there with your
               rifle. Snipe them. Kill them at night. If we do things like this, feds
               will start fearing us. Now do you know what fear does? Fear makes
               people nervous. A nervous enemy, one, that gets one of two things.
               First they get desperate, they start despair. Once they’re desperate
               they start despairing. Desperation leads to martyr. Leads to asking
               what we want. Now that’s where we have to simply just keep the
               violence up and increase the scope of our demands. And say if these
               demands are not met we’re gonna cause a lot of trouble. And when
               those demands are met, then we increase them and continue the
               violence and keep doing this. Until resistance is gone. Until we
               can’t fight anymore.

       On December 31, 2019, Mathews went on an extended rant about Jewish people and black

people. Exhibit 40; Exhibit 40a. In Mathews’s estimation, diversity hiring, quotas, and the

concept of white privilege are “an organized method of committing genocide against white

people.” Id. In his view, the United States “is a white country. Non-whites don’t need to be here

because this is a white country. Non-whites don’t belong here. Non-whites don’t deserve to be in

this country. They need to go back to their own countries.” Id.

       On January 2, 2020, Lemley took a firearm from the Delaware residence to a gun range in

Maryland. ECF No. 156 at 15; ECF No. 159 at 17. On January 5, 2020, Mathews, Lemley, and

Lemley’s minor child departed the Delaware residence and traveled to the Maryland gun range,

where Mathews and Lemley fired the weapon. Id.

       After Lemley and Mathews returned to the Delaware residence from the Maryland gun

range, they began packing rations and material, presumably to be used during and after the Virginia

conduct. Exhibit 1 ¶ 12. Lemley and Mathews loaded a hard pelican case and at least one other

container with food and supplies, and Mathews stated that he wanted to make sure he brought his

gas mask. Mathews stated that they can survive in the area until “we get some hogs.” Id. Lemley



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stated that they may have three or five months’ worth of food, and it “might be enough til the war

is over.” Id. Later that night, Lemley stated that he bought a four-foot metal antenna for his truck,

presumably in order to achieve better radio reception and communications ability during and after

any Virginia conflagration. Id.

         On January 7, 2020, Lemley ordered approximately 1,500 rounds of 5.56 mm and 6.5 mm

ammunition. ECF No. 156 at 16; ECF No. 159 at 18. This ammunition would fit the two firearms

that were possessed by Lemley and Mathews.

         The defendants had further relevant discussion on January 8, 2020. Exhibit 41; Exhibit

41a. Near the beginning of the session, Lemley and Mathews discussed Lemley having live-

streamed certain portions of the swearing-in of the new Virginia legislature that same day. Id.

Lemley asked Mathews, “can we get like a uh like a wooden swastika for Saturday and we’ll just

like torch it in the woods?” The conversation degenerated from there:

                 Lemley:      I’m literally going to shove my gun into a coal
                         [15]
                 burner’s mouth, drive her up the wall, and blow her head off.

                 Mathews:       Why even bother? I mean, just shoot the…I’m not
                 talking about [unintelligible] the coal burners, why in the world
                 would I [unintelligible] with a coal burner.

                 Lemley:      Why in the world would you not inflict bloody
                 vengeance upon the world when given the chance?

                 Mathews:        Shoot, bullets are cheap, even cheaper would be the
                 .22, that’s the execution, put it against the wall and pop, pop, pop,
                 pop…

                 Lemley:         Where’s your brutality at, sir?

                 Mathews:         …I like efficiency, if I have to kill 100 people I want
                 to do it in the quickest and most proficient environment.

                 Lemley:         The lack of brutality is cringe as fuck.

15
     The term “coal burner” is derogatory slang for a white woman who has sex with a black man.


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               Mathews:        I save the brutality for the really fuckin
               [unintelligible] ok well that depends are we talking about killing 5
               people or 100?

               Lemley:         I don’t know, I mean I don’t have 100, only like the
               couple that I snagged.

               Mathews:       Oh. Why are we torturing them? Is this just for fun?

               Lemley:         Because you’re summoning all the rage that you’ve
               felt over the years and have watched society crumble around you.

               Mathews:     Sure, well I’ll put it this way, um I was so happy to
               trade some morality, but it’s very subjective on who it’s directed to,
               enemies…

               Lemley:       You don’t want to peel the faces off the niggers?...
               You know like make a human swaser scissor, while wearing
               someone else’s face?

               Mathews:        Here’s what I want to do with niggers, we find as
               many abandon quarries as possible, what we do, we hoard ‘em into
               trucks, and we’re telling them we’re resettling you to
               Florida…they’ll all get fucking corralled. And you’re all going to
               be resettled in Florida, get the fuck in the truck let’s go, they’re not
               going to Florida, they’re going to the quarry where they’re all going
               to get shot and we’re all going to dump them into the negro pits,
               because there are too many of them and they just got to get gotten
               rid of. The Mexicans, we’ll just tell them to leave.

       The defendants then discussed how they would clean up non-revolutionaries once the civil

war begins, id.:

               Mathews:          …so, Mexicans you tell them to leave…the whites
               that we’re going to have some interesting times with because we’re
               going to have to start finding out uh basically you get the voting
               records, you find out who votes democrat, alright that’s an easy list,
               those people in most white communities is surprisingly small
               number once you get rid of the Mexicans and blacks, and all the vote
               rigging, it’s a tiny minority, round up those people, and it’s the open
               borders people, then it’s the fucking Zionist Christian elements
               that’s probably Republicans, you just bit by bit clean the community
               up a piece at a time. And you pull ‘em out. You know the other
               thing too is social media is good if we still have Internet, you start



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               checking to see if these fuckers had accounts Facebook etc, and it’s
               like oh you’re a white woman that taught your children to hate their
               own race. Bang, and then you make an example out of those people,
               it’s kind of like in what was it The Turner Diaries where uh when
               they’re executing race-mixers, uh after the first bout of killings
               people started turning them in and ratting on people….the thing is
               once you make a few public examples, you know and you’re de facto
               law, you’d be surprised how quick people start turning in the
               neighbors. In a way it’s kind of horrifying, once we become the law,
               and we start writing, writing laws in the books, you’d be surprised
               how easy it would be.

               Lemley:       There is always a bit of resentment to the people that
               have ruled over by force.

               Mathews:        True, true…we have a careful game to play, I think
               what it is, is we have to initially gain the trust of the majority of the
               community that’s white, once we bit by bit purify it, and what we
               do is we take the best of the community and make their lives as good
               as possible in terms of the most genetically viable and then kind of
               at least make things functional for the middle class and as for like
               the really lower class, like the actual low-class whites, like you know
               race mixers, shit like that…

               ….

               Lemley:         I would revoke women’s driver’s licenses. Limit
               their mobility. Keeps them in the house.

       On January 9, 2020, the defendants discussed the Virginia plan. Exhibit 42; Exhibit 42a.

Mathews briefly considered trying to assassinate the Speaker of the Virginia House of Delegates,

whose address he obtained from the Internet. Id. In Mathews’s view, the Speaker’s murder “would

probably accelerate their gun control agenda,” which in turn Mathews hoped would spur a violent

reaction. Id. After apparently having looked up the Speaker’s residence, Lemley and Mathews

concluded that there probably was not a good sniper location nearby (“I doubt there’s a place to

sit about 5…600 yards away”), so they pondered an attack on the Speaker’s route to work. Id.

Mathews said, “it’s interesting how they invaded that one city [Richmond], took over, and now

they’re changing the state [unintelligible]. I mean, you’ve seen that laundry list of bills. They’re



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gonna radically change Virginia.” Id. Ultimately, the defendants set the idea aside for the moment,

waiting to see if the Virginia legislature would pass the anticipated gun control bills. Id.

       On January 11, 2020, Lemley drove Mathews and an FBI undercover employee (“UCE”)

from the Delaware residence to the same gun range in Maryland they had visited on January 5,

2020. ECF No. 156 at 16; ECF No. 159 at 18. While at the range, Mathews handled and fired the

assault rifle. Id. When returning to the Delaware residence from the gun range, Lemley and

Mathews stopped by Lemley’s prior residence in Maryland, where they retrieved at least some of

the 1,500 rounds Lemley had ordered days before. Id.

       On January 11, 2020, in the presence of the UCE, the defendants discussed various plans,

including Virginia. Exhibit 43 (filed under seal); Exhibit 43a. The defendants explained to the

UCE what was happening in Virginia, including that Virginia wanted to “ban assault weapons,

magazine restrictions, they want to outlaw non-government owned rifle ranges,” in addition to

“affirmative action white replacement” and “a proposed bill that would not allow white suburbs to

effectively exist.” Id. The defendants “expected 60,000 militia to show up in the capitol” of

Virginia on January 20, 2020. Id. The defendants were “rolling for chaos”:

               Lemley:        Chaos would be great, like, I’m hoping that one of
               these guys is acting like a fucking looney tune and some cop takes
               him down to try to like disarm him and his buddy’s just open fire.
               And . . . so once that happens you would have like a hasty retreat
               and like kind of like a a running skirmish out of the city. And I
               assume these guys would start doing their military LARP thing and
               they would actually start offering…

               Mathews:         It would be an escalation of violence. It would be
               like the initial violence would cause some military police, it would
               be basically what’s called the three block war which was where there
               was a situation in Iraq where there was four or five different
               combatant groups and about three block area and they were all
               fighting against each other and there were American troops on the
               ground where corporals had to make decisions on the ground and
               leadership because they could not, the the situation was so complex



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               that they had to act on their own because it was changing that fast.
               That’s what’s probably going to fucking happen. . . . Basically, in a
               nutshell, it’s going to be a complete and total fucking shit show the
               minute violence kicks off . . . .

               …

               Lemley: …there’s a lot of people waiting in the wings that are like,
               like waiting to see if it actually happens and then they will they will
               immediately uh, come, like, come into uh theater, and, uh, that’s, I
               don’t know what we, what we’re gonna do, like we haven’t really
               like, nobody’s really like drawn up a real plan. Like I always
               thought that we would kinda merge together and like start doing
               gang shit together because fuck it…the government is like
               effectively shut down… I think that there’s a really good chance for
               something to happen because not only is it a powder keg but you are
               gonna have like agent provacateurs on the ground, intelligence
               agencies out there.

       Mathews said that their original plan was to “go down there wait on the outskirts of the

city, wait for violence to break out and then we would just start having a…some fun.” Id. Lemley

seems to have reconsidered his location, instead considering whether to stage in the Shenandoah

forest, a bit farther afield. Id. Lemley was serious: “[P]eople are saying it’s now or never. Its

now or never, like if we wait it’s only gonna get worse, the the writing is on the wall, we know

what they’re doing to us. The victory is only like less likely the longer we wait. We have to act.

We must act now. That’s what I keep…that’s what everybody’s saying…” Id.

       The defendants were verbose about their plans and ideas, see Exhibit 44 (filed under seal);

Exhibit 44a:

               Mathews:       …we gotta pick up where Pierce[16] and all the other
               ones failed we gotta act when it’s time to act we can’t fail where
               they have failed or else the white race is extinct….

               ….


16
  William Pierce, who died in 2002, was a white supremacist who wrote The Turner Diaries. See
https://www.splcenter.org/fighting-hate/extremist-files/individual/william-pierce.


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     Mathews:      [In Virginia,] we shoot at the government. We kill
     the fucking cops. We blast the fucking nat guard. What we do is
     we provide covering fire…and assistance….

     ….

     Lemley:        We’re little green men essentially.

     ….

     UCE:           …if they start engaging cops and everybody starts
     going we start picking up from far away?

     Lemley:        We jump right in. We jump in.

     …

     Lemley:          We wanna ambush. We don’t want to, we don’t want
     to like line fight…

     UCE:           But if it’s only the three of us how do we ambush?
     We just…

     Lemley:        We’ll be doing night, night operations.

     ….

     UCE:           Ok who am I killing?...

     Mathews:        I’ll give you the meat and the bones. We don’t have
     to reveal that we are national socialists. We just have to reveal to
     these NS [national socialist] guys err I mean to these patriots
     etcetera…that we are the good guys…We’re on your side…And we
     fucking kill the fucking government which is the fucking enemy…

     UCE:           Thereby we are helping the acceleration.

     Lemley:        Well, yeah. It’s just, it’s just that we…It’s just that
     we can’t live with ourselves if we don’t get somebody’s blood on
     our hands. Like can you really say that you would just be like, how
     bad would you feel if you if that just like all that went on, there
     was…a Battle of Richmond and you weren’t even fucking there?
     Wouldn’t you feel like a piece of shit? I would definitely be feeling
     that.

     ….



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               Mathews:        Sure and to me I don’t care if I’ve shot a bunch of
               fucking black kids and something in the back of my fucking head is
               ringing and it feels bad. I don’t fucking care….

               Lemley:        I’ll do it. I’ll do it. I just would be like…I’m like
               aww this sucks.          This kid is like whimpering, doesn’t
               understand…kid’s whimpering, doesn’t understand…And like it’s
               gonna be really gruesome but fuck it.

       The same day, the defendants discussed disabling power lines, burning electricity

transmission towers, and blocking rail lines. Exhibit 45 (filed under seal); Exhibit 45a. Lemley

made his intentions clear when he stated, “If we’re not ambushing feds, and we’ve got nothing

better to do, we might as well go disable that infrastructure. And especially…if they are like holing

up in Richmond, and they’re like ‘We’re gonna, we’re gonna hold Richmond.’ Well, we might as

well fucking cut everything off around Richmond, and I’m – basically, fuck them, like en-

entirely.” Id. The defendants hoped that violence in Richmond would kick off violence around

the country, including Washington state. Id. Lemley told the UCE that Lemley would be going

to Virginia and would let the UCE know if “things are getting really crazy…some shots were just

fired.” Id. Per Lemley: “I’ll be kind of like on the ground in Richmond. Not in the front, but way

in the back, just kind of looking at things, seeing how things are going, and if it turns into a shoot-

out, I’ll immediately retreat from the city and then start organizing all the people that are going to

come and respond.” Id. Lemley established the Shenandoah valley as the base camp. Id.

       On January 15, 2020 (the day before their arrest), the defendants had an extensive

conversation about Virginia. Exhibit 46; Exhibit 46a:

               Mathews:       I’ve been thinking about it a little bit…perhaps
               among The Base, once we meet up with AK and the boys, we’ll
               touch base with them. About, uh, for example, about the idea you’ve
               been having about you know hitting, hitting, you know, striking
               when it’s hot. You know, once the flash point starts, starts, we gotta
               get in there…



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              Lemley:         Anyone who doesn’t acknowledge that is fake and
              gay. Let’s be honest, there’s a flashpoint’s happening? Nah, not
              yet, nigga, let’s see if it turns into something real. Nah, man, like,
              those guys are gonna get fucking, fucking destroyed. Fuck them.
              No, no, no.

              …

              Lemley:         If you don’t sign a contract saying that you will fight
              when there is a flashpoint, an open conflict of the United States, you
              need to get kicked out of The Base. . . . Like who the fuck are…who
              the fuck are you?...What are you if you’re not gonna do that? It
              kinda like blows me out, just blows me out of the water, like, what?
              What are you even doing? Why are you here? Maybe you’re here
              because you wanna be a cool guy?

              …

              Mathews:       Right now, if I ever get captured, I am going to jail
              for the rest of my life. You realize they’re just gonna call us
              terrorists….

              …

              Mathews:       …they’re going to call us terrorists, and it’s just
              gonna be that they’re gonna try to keep us in jail as long as
              possible…All I’m saying is, what we are is going to have a jail
              sentence, at a minimum. So the question is, we’re gonna go to jail
              anyway, might as well go to jail for something good. Might as well
              do some damage to the system.

              Lemley:       First of all…I may be going to jail upon discovery of
              the propaganda in my cell phone, but I’m not going to jail for that
              long.

       Early in the morning on January 16, 2020, federal agents executed federal arrest warrants

on Lemley and Mathews at the Delaware residence. ECF No. 156 at 16; ECF No. 159 at 18.

Before Lemley and Mathews submitted to the agents, however, they both smashed their cell

phones and dumped them into the toilet. Id. From the residence, agents recovered two firearms,

ammunition, magazines, radios, camping gear, tactical gear, and MREs. Exhibit 47.




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III.   The Sentencing Guidelines

       In the plea agreements, the parties agreed to a basic set of applicable Guidelines. ECF No.

156 at 5-7; ECF No. 159 at 6-9. The parties agreed that the firearm counts had the highest offense

level at 22, before acceptance. Id. The PSRs maintain that all the counts group, and the

Government does not object. ECF Nos. 165 & 166. The Government does not oppose a 2-level

reduction for acceptance of responsibility. In the absence of the applicability of any other

Guideline provisions, the offense level would be 20.

       However, in the plea agreement, the parties also reserved the right to argue for and against

the applicability of any other Guideline. The Government believes the offense level should be

increased under several additional provisions described below.

       A.      U.S.S.G. § 3A1.4(a) and (b) Enhancements

       When imposing an ultimate sentence, the defendant’s intentions matter. There is no

sharper proof of this axiom than when courts in this District are called upon to impose sentence on

a defendant convicted of 18 U.S.C. § 922(g)(1) where the conduct involves the unlawful

possession of a firearm in the defendant’s home or vehicle without other indication that the

defendant planned to use the weapon proactively to commit other criminal conduct. In those

situations, defense attorneys routinely implore courts to find mitigation—suggesting, perhaps, that

the weapon was for home protection, self-defense in a dangerous neighborhood, or some other

innocent-sounding reason. Outside of the drug trafficking context, it is rare that the Government

can counter those defendants’ arguments. Here, in contrast, the Government brings ample

evidence that the defendants intended to use their firearms, and generally intended their federal

crimes, to promote federal crimes of terrorism.




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       All of the defendants’ offenses involved, or were intended to promote, a federal crime of

terrorism. See U.S.S.G. § 3A1.4. With this enhancement, the offense level is increased by 12

levels or to level 32 (whichever is higher), and each defendant’s criminal history category becomes

Category VI.

       “Federal crime of terrorism” is defined at U.S.S.G. § 3A1.4, app. note 1 and 18 U.S.C.

§ 2332b(g)(5). According to this definition, a “federal crime of terrorism” has two components.

First, it must be a violation of one of several enumerated statutes. 18 U.S.C. § 2332b(g)(5)(B).

Second, it must be “calculated to influence or affect the conduct of government by intimidation or

coercion, or to retaliate against government conduct.” 18 U.S.C. § 2332b(g)(5)(A). By § 3A1.4’s

plain wording, there is no requirement that the defendant have committed a federal crime of

terrorism. All that is required is that the crimes of conviction (or relevant conduct) involved or

were intended to promote a federal crime of terrorism. See, e.g., United States v. Graham, 275

F.3d 490, 516 (6th Cir. 2001) (“A defendant who intends to promote a federal crime of terrorism

has not necessarily completed, attempted, or conspired to commit the crime; instead the phrase

implies that the defendant has as one purpose of his substantive count of conviction or his relevant

conduct the intent to promote a federal crime of terrorism.”). See also United States v. Fidse, 862

F.3d 516, 522 (5th Cir. 2017) (affirming § 3A1.4 enhancement where underlying convictions were

for conspiracy and obstruction); United States v. Benkahla, 530 F.3d 300, 311-313 (4th Cir. 2008)

(discussing § 3A1.4, application note 2, in context of convictions for false statements and

obstruction); United States v. Mandhai, 375 F.3d 1243, 1248 (11th Cir. 2004) (“Contrary to

Mandhai’s assertion, the terrorism enhancement does not hinge upon a defendant’s ability to carry

out specific terrorist crimes or the degree of separation from their actual implementation. Rather,

it is the defendant’s purpose that is relevant, and if that purpose is to promote a terrorism crime,




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the enhancement is triggered . . . The enhancement was proper even though the record reflects that

Mandhai lacked both the means and the ability to carry out his defined activity without assistance

that was not present”); United States v. Elshinawy, 2018 WL 1521876 (D. Md. Mar. 28, 2018)

(quoting Mandhai for proposition that Government need not “prove that the defendant had the

means or ability to implement his plans” and that the defendant’s purpose is the relevant

consideration), aff’d 781 F. App’x 168 (4th Cir. 2019). To apply the enhancement, this Court

needs to identify which specific enumerated federal crime(s) of terrorism the defendants intended

to promote, and the Court’s findings need to be supported by only a preponderance of the evidence.

Id. 17

         The defendants repeatedly confirmed, on tape, that their crimes were intended to promote

enumerated federal crimes of terrorism. They intended to kill federal employees, in violation of

18 U.S.C. § 1114. Exhibit 19; Exhibit 20; Exhibit 28; Exhibit 33; Exhibit 34; Exhibit 44;

Exhibit 45. They intended to damage communication lines, in violation of 18 U.S.C. § 1362.

Exhibit 37. They intended to damage an energy facility, in violation of 18 U.S.C. § 1366(a).

Exhibit 30; Exhibit 35; Exhibit 36; Exhibit 45. They intended to damage rail facilities, in

violation of 18 U.S.C. § 1992. Exhibit 29; Exhibit 30; Exhibit 38; Exhibit 45. And they intended

to commit arson or bombing of any building, vehicle, or other property used in interstate

commerce, in violation of 18 U.S.C. § 844(i). Exhibit 45.

         Furthermore, there can be no serious dispute that the defendants’ intentions were “to

influence or affect the conduct of government by intimidation or coercion.” Coercion and



17
  A district court deciding whether to impose the terrorism enhancement must “resolve any factual
disputes” relevant to the enhancement and then, if it finds the requisite intent, should “identify the
evidence in the record that supports” that finding. United States v. Hassan, 742 F.3d 104, 148 (4th
Cir. 2014) (quoting United States v. Chandia, 514 F.3d 365, 376 (4th Cir. 2008)).


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capitulation were core purposes of The Base. And specific to the defendants, they themselves said

this is what they wanted. Exhibit 39 (“Desperation leads to martyr. Leads to asking what we

want. Now that’s where we would have to simply keep the violence up, and increase the scope of

our demands. And say if these demands are not met, we’re going to cause a lot of trouble. And

when those demands are met, then increase them, and continue the violence. You just keep doing

this, until the system’s gone. Until it can’t fight anymore and it capitulates.”). It was their express

purpose to “bring the system down.” Exhibit 36.

       Since § 3A1.4 applies, a 12-level increase applies, and the resulting offense level cannot

be lower than 32. In addition, each defendant automatically will be a Criminal History Category

VI.

       B.      Upward Departure Under U.S.S.G. § 3A1.4, app. note 4

       Congress has defined domestic terrorism, 18 but no statute specifically criminalizes

domestic terrorism. Instead, prosecutors rely on a variety of federal statutes to prosecute domestic

terrorists. The statutory maximum terms of imprisonment for the available charges typically (but

not always) permit a sentencing court to adequately account for the underlying conduct. In order

to hold domestic terrorists appropriately accountable at sentencing, if not in the charging

document, the Sentencing Commission has provided U.S.S.G. § 3A1.4, app. note 4. See United

States v. Jordi, 418 F.3d 1212 (11th Cir. 2005) (finding application note 4 to be “clear and

unambiguous”).



18
   “‘Domestic terrorism’ means activities that (A) involve acts dangerous to human life that are a
violation of the criminal laws of the United States or of any State; (B) appear to be intended (i) to
intimidate or coerce a civilian population, (ii) to influence the policy of a government by
intimidation or coercion, or (iii) to affect the conduct of a government by mass destruction,
assassination, or kidnapping; and (C) occur primarily within the territorial jurisdiction of the
United States.” 18 U.S.C. § 2331(f).


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       If the Court concludes that the § 3A1.4 terrorism enhancement does not apply, the Court

should depart upward based on application note 4. Under application note 4, the Sentencing

Commission expressly endorsed an upward departure under certain circumstances:

               By the terms of the directive to the Commission in section 730 of
               the Antiterrorism and Effective Death Penalty Act of 1996, the
               adjustment provided by this guideline applies only to federal crimes
               of terrorism. However, there may be cases in which (A) the offense
               was calculated to influence or affect the conduct of government by
               intimidation or coercion, or to retaliate against government conduct
               but the offense involved, or was intended to promote, an offense
               other than one of the offenses specifically enumerated in 18 U.S.C.
               § 2332b(g)(5)(B); or (B) the offense involved, or was intended to
               promote, one of the offenses specifically enumerated in 18 U.S.C.
               § 2332b(g)(5)(B), but the terrorist motive was to intimidate or
               coerce a civilian population, rather than to influence or affect the
               conduct of government by intimidation or coercion, or to retaliate
               against government conduct. In such cases an upward departure
               would be warranted, except that the sentence resulting from such a
               departure may not exceed the top of the guideline range that would
               have resulted if the adjustment under this guideline had been
               applied.

       If subparagraph (A) applies—“the offense was calculated to influence or affect the conduct

of government by intimidation or coercion, or to retaliate against government conduct but the

offense involved, or was intended to promote, an offense other than one of the offenses specifically

enumerated in 18 U.S.C. § 2332b(g)(5)(B)”—the Government’s argument in the prior section with

respect to the defendants’ intentions to influence or affect Government conduct through

intimidation or coercion applies equally here. But instead of having to prove that the defendants

intended to promote an enumerated statute, the application note 4 upward departure merely

requires that the Government prove that the defendants intended to promote any other statute.

Here, the defendants intended to promote the statutes of conviction, in addition to the several other

federal statutes for which multiple magistrate judges in this District found probable cause to issue

search warrants, including 18 U.S.C. § 1201 (inciting a riot), 18 U.S.C. §§ 371 and 249 (conspiracy



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to commit and attempt to commit a hate crime), and 21 U.S.C. § 841 (distribution of controlled

substance).

       If subparagraph (B) applies—“the offense involved, or was intended to promote, one of the

offenses specifically enumerated in 18 U.S.C. § 2332b(g)(5)(B), but the terrorist motive was to

intimidate or coerce a civilian population, rather than to influence or affect the conduct of

government by intimidation or coercion, or to retaliate against government conduct”—then the

Government’s argument in the prior section regarding the enumerated offenses of 18 U.S.C.

§§ 1114, 1362, 1366(a), 1992, and 844(i) applies equally here. But instead of proving that the

defendants’ conduct was intended to influence, affect, or retaliate against Government conduct,

the Government must prove that the defendants intended to intimidate or coerce a civilian

population. This is easily done, again with resort to the defendants’ own words. They repeatedly

said how they want to murder and subjugate racial and ethnic minorities through violence. Exhibit

27; Exhibit 28; Exhibit 39; Exhibit 40; Exhibit 41.

       C.      U.S.S.G. § 2K2.1(b)(6)(B)

       A 4-level increase applies because the defendants possessed any firearm or ammunition in

connection with another felony offense, or possessed any firearm or ammunition with knowledge,

intent, or reason to believe that it would be used or possessed in connection with another felony

offense. The other felony offenses are the previously-described federal crimes of terrorism.

       D.      U.S.S.G. § 5K2.0

       Under § 5K2.0, the Court may depart upward in certain exceptional cases not otherwise

accounted for by the Guidelines. For example, under § 5K2.0(a)(2)(B), the Court can depart

upward “in the exceptional case where there is present a circumstance that the Commission has

not identified in the guidelines but that nevertheless is relevant in determining the appropriate




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sentence.” If the Court finds that any or all of the aforementioned enhancements and departures

(including § 3A1.4 or § 3A1.4, application note 4, and § 2K2.4) do not apply, then the Government

submits that the Court should make an equivalent upward departure under § 5K2.0 because of the

defendants’ intent and preparation to commit acts of domestic terrorism. 19

IV.    The Recommended Sentence

       To the extent not addressed in this memorandum, the Government will discuss each 18

U.S.C. § 3553(a) factor at sentencing. Based on consideration of all the § 3553(a) factors, the

Government believes that the appropriate term of imprisonment is 25 years (300 months) for each

defendant. The terms of imprisonment should be followed by three-year terms of supervised

release. The Government also will file an appropriate forfeiture order prior to sentencing, in

conformity with the plea agreements.

       To the extent that the Government’s recommendation is above the advisory Guideline

range found by the Court during the sentencing hearing, an upward variance to reach the

recommended sentence is warranted here. 20 The defendants pose a severe risk to public safety.

They are domestic terrorists and should be sentenced accordingly.




19
   As discussed below, the Government also believes that its bottom-line sentencing
recommendation is appropriate under the § 3553(a) factors, even if the Sentencing Guidelines
counsel in favor of a different range of imprisonment.
20
  The Fourth Circuit has regularly found upward variant sentences substantively reasonable where
the district court has considered and explained its sentence based on the
§ 3553(a) factors. See United States v. Washington, 743 F.3d 938, 944-45 (4th Cir. 2014) (sentence
six years above guidelines range substantively reasonable); Rivera-Santana, 668 F.3d at 106
(sentence seven and half years above guidelines range substantively reasonable); Diosdado-Star,
630 F.3d at 367 (sentence more than six years above guidelines range substantively reasonable);
United States v. Johnson, 538 Fed. Appx. 62, 65 (4th Cir. 2014) (per curiam) (sentence 250%
above top of guidelines range substantively reasonable).


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                                         Conclusion

       For the reasons set forth above, the United States respectfully requests that the Court

impose a term of imprisonment of 25 years as to each defendant.



                                                     Respectfully submitted,

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                                                     /s/
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